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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

UNITED STATES OF AMERICA,                            Case No. 09-20215

               Plaintiff,                           HONORABLE SEAN F. COX
                                                    United States District Judge
v.

D-2 JOSE CASTRO-RAMIREZ,

            Defendant.
___________________________________/

               OPINION & ORDER DENYING THE DEFENDANT’S
          RENEWED MOTION FOR JUDGMENT OF ACQUITTAL [Doc. No. 295]

       Dr. Jose Castro-Ramirez was charged with one count of conspiracy to commit health care

fraud, eleven individual counts of health care fraud, and one count of conspiracy to commit

money laundering. [See Doc. No. 4]. Jury trial in this matter began on February 16, 2010.

       At the close of the Government’s proofs, Dr. Castro-Ramirez made an oral motion for

acquittal pursuant to FED. R. CRIM. P. 29. In an eleven-page Opinion & Order [See Doc. No.

276], the Court denied Dr. Castro’s motion. On March 11, 2010, the jury found Dr. Castro-

Ramirez guilty on all counts. [See Doc. No. 285].

       The case is before the Court on Dr. Castro-Ramirez’ “Renewed Motion for a Judgment of

Acquittal” [Doc. No. 295], filed March 25, 2010. In his brief in support of the instant motion,

which Dr. Castro-Ramirez concedes was brought “[i]n order to preserve his right to challenge

the sufficiency of the Government’s proofs on appeal,” Id. at 4, Dr. Castro-Ramirez again argues

that the evidence presented by the Government at trial was insufficient under FED. R. CRIM. P.

29. The Government opposes Dr. Castro-Ramirez’ current motion. [See Doc. No. 311].


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       Dr. Castro-Ramirez’ instant motion makes no argument about the sufficiency of the

evidence against him that was not considered by the Court in its March 9, 2010 Opinion & Order

[Doc. No. 276]. The Court therefore DENIES Dr. Castro’s “Renewed Motion for a Judgment of

Acquittal” [Doc. No. 295].

       IT IS SO ORDERED.


                             S/Sean F. Cox
                             Sean F. Cox
                             United States District Judge

Dated: April 22, 2010

I hereby certify that a copy of the foregoing document was served upon counsel of record on
April 22, 2010, by electronic and/or ordinary mail.

                             S/Jennifer Hernandez
                             Case Manager




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